Case 18-55697-lrc    Doc 363   Filed 05/04/21 Entered 05/04/21 12:41:10        Desc Main
                               Document     Page 1 of 8




  IT IS ORDERED as set forth below:



  Date: May 4, 2021
                                                     _____________________________________
                                                                Lisa Ritchey Craig
                                                           U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                        :      CASE NUMBER
                                         :
CASSANDRA JOHNSON LANDRY,                :      18-55697-LRC
                                         :
                                         :
                                         :      IN PROCEEDINGS UNDER
                                         :      CHAPTER 7 OF THE
      DEBTOR.                            :      BANKRUPTCY CODE

 ORDER DEFERRING RULING ON APPROVAL OF CHAPTER 7 TRUSTEE'S
  FINAL REPORT AND TRUSTEE’S APPLICATION FOR COMPENSATION
    AND GRANTING TRUSTEE’S REQUEST FOR REIMBURSEMENT OF
 EXPENSES AND APPLICATION FOR COMPENSATION OF PROFESSIONAL


      The Court held a telephonic hearing on March 11, 2021 (the “Hearing”) regarding

the Trustee’s Final Report and Applications for Compensation filed by S. Gregory Hays

(the “Trustee”) and his counsel, Herbert C. Broadfoot, II (Doc. 332) (the “Applications”).

At the Hearing, Mr. Broadfoot appeared on behalf of himself and the Trustee, and Jonathan
Case 18-55697-lrc     Doc 363   Filed 05/04/21 Entered 05/04/21 12:41:10      Desc Main
                                Document     Page 2 of 8




Adams appeared on behalf of the United States Trustee.        Although Debtor filed an

objection to the Applications and the Final Report approximately one hour before the

Hearing (the “Objection,” Doc. 350), the Court did not hear Debtor announce her presence

at the Hearing. The Court inquired of Mr. Broadfoot as to whether he had communicated

with Debtor prior to the Hearing, and Mr. Broadfoot informed the Court that he had

received a copy of the Objection from Debtor via e-mail but had not spoken with Debtor.

As it appeared to the Court that Debtor had failed to attend the Hearing or prosecute the

Objection, the Court approved the Final Report and Applications.       Shortly after the

Hearing, Debtor filed a document titled “Submission: Proof That Debtor Was in Attendance

for Hearing (Doc. 351, amended by Doc. 354), in which she asserted that she was present

for the Hearing, but the Court failed to acknowledge her. After concluding that it was

possible that the Court and the other parties on the call could not hear Debtor due to a

technological issue, the Court rescheduled the Hearing for April 14, 2021 (the

“Rescheduled Hearing”) to allow Debtor an additional opportunity to be heard. Mr.

Broadfoot appeared at the Rescheduled Hearing, and Shawna Staton appeared on behalf of

the United States Trustee. Debtor appeared at the Rescheduled Hearing to prosecute the

Objection. Following the Rescheduled Hearing, Debtor filed a Response to Rescheduled

Meeting (Doc. 362).

      The Objection takes issue with the Trustee’s commission, the Trustee’s expenses,

                                           2
Case 18-55697-lrc    Doc 363    Filed 05/04/21 Entered 05/04/21 12:41:10         Desc Main
                                Document     Page 3 of 8




Mr. Broadfoot’s compensation, the Trustee’s abandonment of certain assets, and the

proposed payment of certain claims. First, Debtor’s objection to the Trustee’s commission

of $9,093.44 appears to be based solely on the fact that the Trustee did not explain its

calculation.   The Trustee’s commission is determined pursuant to § 326(a) of the

Bankruptcy Code and is a percentage of “all moneys disbursed or turned over in the case

by the trustee to parties in interest, excluding the debtor, but including holders of secured

claims.” 11 U.S.C. § 326(a). The Trustee’s request for his statutory commission is proper

and is supported by the Bankruptcy Code and the information contained in the Final Report

regarding the anticipated disbursements of moneys from the bankruptcy estate. The

appropriate amount of the commission, however, cannot be determined until the Court has

approved the disbursements as stated in the Final Report. Accordingly, for the reasons

explained below, approval of the Trustee’s commission will be deferred.

       Second, Debtor objects to the Trustee’s request for reimbursement of expenses of

$422.72 on the basis that the Trustee did explain for each expense. A trustee’s expenses

may be reimbursed if they are “actual and necessary.”           11 U.S.C. § 330(a)(1)(B).

Attached to the Trustee’s application is an itemization of the expenses, indicating that the

Trustee incurred and paid expenses for travel to the courthouse, parking, postage, the fee

for a bond, and copies. These are all common and appropriate expenses, for which the



                                             3
Case 18-55697-lrc          Doc 363       Filed 05/04/21 Entered 05/04/21 12:41:10                     Desc Main
                                         Document     Page 4 of 8




Trustee provided sufficient information.1 The Court has no basis to find that the expenses

were not actually incurred or were unnecessary to administer the bankruptcy estate, and,

therefore, this objection is overruled, and the Court allows the expenses as requested by the

Trustee.

        Third, Debtor appears to object to Mr. Broadfoot’s compensation on the basis that

certain services provided were not legal services, but rather performance of the duties of

the Trustee. The Court agrees with Debtor’s general statement that counsel for a trustee

may not be compensated for performing the trustee’s duties.                             The Court, however,

reviewed the time entries provided by Mr. Broadfoot with his application and did not

identify any entries that appeared to be time spent providing nonlegal services. The United

States Trustee also reviewed the time entries and raised no such concerns. The Objection

identifies specific dates upon which services were rendered and states that “it appears words

were used interchangeably/substituted for wording outlined within the Chapter 7 Trustee

Handbook in order validate billing.” The Court was unable to discern from the Objection

why Debtor believes the time entries are not legal services based on the notations made on

the timesheet or from the time entries themselves, and Debtor did not elaborate on this point



1
   Debtor filed her Motion to Compel: Requested Submission of Disbursement from Trustee Chapter 7 S. Gregory
Hays and Trustee's Attorney Herbert Broadfoot (Doc. 344) and Motion to Compel: Requested Submission of Itemized
Statement for Trustee Chapter 7 S. Gregory Hays and Trustee's Attorney Herbert Broadfoot (Doc. 345), seeking
additional information regarding the fees and expenses, and Mr. Broadfoot responded to these requests, such that the
Court finds that these motions are MOOT.
                                                         4
Case 18-55697-lrc     Doc 363    Filed 05/04/21 Entered 05/04/21 12:41:10         Desc Main
                                 Document     Page 5 of 8




during the Rescheduled Hearing. The Court notes that counsel for the United States

Trustee, who is obligated to review the Application and raise any objections thereto when

appropriate, see 28 U.S.C. § 586(a)(3), appeared at the Hearing and the Rescheduled

Hearing and announced that the United States Trustee had reviewed the Applications in the

normal course and had no objections. Further, the Court’s own review of the time entries

gave the Court has no basis to conclude that the time entries were for nonlegal tasks that

the Trustee, a nonlawyer, could have performed on behalf of the estate.

       To the extent that Debtor generally asserts that Mr. Broadfoot spent too much time

on this case, the Court relies on its experience and knowledge of the activities undertaken

by Mr. Broadfoot in this case to conclude that the time spent was reasonable under the

circumstances. The Court has reviewed the services for which compensation is sought in

Mr. Broadfoot’s Application pursuant to 11 U.S.C. § 326 and § 330. Having considered

his hourly rate and the hours expended, the Court concludes that the compensation sought

by the Trustee’s attorney is reasonable. See Norman v. Housing Authority of City of

Montgomery, 836 F.2d 1292 (11th Cir. 1988). Accordingly, the Court overrules this

objection.

       Finally, the Court construes the remainder of the Objection as an objection to the

Trustee’s alleged failure to investigate her fraud claims and to the Trustee’s proposal in the

Final Report to pay certain claims on the basis that the claims are not Debtor’s legitimate

                                              5
Case 18-55697-lrc     Doc 363     Filed 05/04/21 Entered 05/04/21 12:41:10           Desc Main
                                  Document     Page 6 of 8




debts and were incurred by another individual through identity theft, which “was recently

uncovered.” The Court notes that Debtor’s objections to the abandonment of her fraud

claims have been fully heard and determined in multiple, prior orders and will not be

addressed again.

       As to the payment of claims, the claims that the Trustee proposes to pay in the Final

Report have been deemed allowed. 11 U.S.C. § 502(a). Therefore, the Trustee must pay

the claims unless the Court disallows the claims. 11 U.S.C. § 726(a) (“Except as provided

in section 510 of this title, property of the estate shall be distributed . . . in payment of any

allowed unsecured claim . . . which is timely filed.”). Although § 502(b) provides several

bases upon which a claim shall be disallowed, there must first be “notice and a hearing.”

11 U.S.C. § 502(b). Further, pursuant to Rule 3007, a party objecting to a claim must serve

the claim objection on the claimholder and provide thirty days’ notice of the hearing on the

objection. In this case, the claimholders have not been served with the Objection or

provided notice of any hearing.

       In the Objection, Debtor objects to the Trustee’s payment of certain claims, but, as

noted above, there are no pending claim objections. The Court has previously denied

objections to claims filed by Debtor on the basis that Debtor lacked standing to raise the

objections because, even if the Court disallowed the claim at issue, Debtor would not have

benefitted, as the funds would have simply been redirected to the payment of other allowed

                                               6
Case 18-55697-lrc       Doc 363     Filed 05/04/21 Entered 05/04/21 12:41:10              Desc Main
                                    Document     Page 7 of 8




claims. According to the Final Report, the Trustee is proposing to distribute pro rata

$82,344 to holders of unsecured claims that total $187,187. It appears that Debtor objects

to Claim Numbers 4, 6, 9, 12, 13, and 21 on the basis that the claims arose from identity

theft and Claim Numbers 3, 14, and 16 on the basis that she has paid the claim or a portion

of the claim (the “Claims”).2 If the Court disallowed or reduced all these Claims, sufficient

funds could be available to allow the return of a surplus to Debtor and, therefore, Debtor

could have standing to object to these Claims. For this reason, the Court will defer ruling

on the Final Report and will allow Debtor a limited opportunity to object to these Claims.

Debtor is directed, however, that she must comply with the requirements of this Order, the

Bankruptcy Code, Rule 3007 of the Federal Rules of Bankruptcy Procedure, and

Bankruptcy Local Rule 3007-1 and that failure to do so may result in the Court’s approval

of the Final Report and the Trustee’s compensation without further hearing.

       Therefore,

       IT IS ORDERED that the Application of Mr. Broadfoot for compensation and

reimbursement of expenses and the Application of the Trustee for reimbursement of

expenses are APPROVED and this approval is made final;




2
 The Claims include Claim Number 3 (Valeri Burnough), Claim Number 4 (American Express), Claim Number 6
(Midland Funding), Claim Number 9 (Quantum Funding), Claim Number 12 (Bank of America), Claim Number 13
(Bureaus Investment Group), Claim Number 14 (CACH), Claim Number 16 (Emory Eastside Medical), and Claim
Number 21 (Bureaus Investment Group).
                                                  7
Case 18-55697-lrc    Doc 363   Filed 05/04/21 Entered 05/04/21 12:41:10       Desc Main
                               Document     Page 8 of 8




       IT IS FURTHER ORDERED that the ruling on the Trustee’s Application for

Compensation is DEFERRED;

       IT IS FURTHER ORDERED that the ruling on the Final Report is DEFERRED;

       IT IS FURTHER ORDERED that Debtor shall have fourteen (14) days from the

date of the entry of this Order within which to file and properly serve any objections to

Claims (Claim Numbers 3, 4, 6, 9, 12, 13, 14, 16, and 21);

       IT IS FURTHER ORDERED that, should Debtor file claim objections, the Court

will schedule and notice a hearing on the objections if the Court determines that the

objections comply with the requirements of this Order, the Bankruptcy Code, Rule 3007 of

the Federal Rules of Bankruptcy Procedure, and Bankruptcy Local Rule 3007-1;

       IT IS FURTHER ORDERED that, if Debtor fails to file objections to claims that

comply with the requirements of this Order, the Bankruptcy Code, Rule 3007 of the Federal

Rules of Bankruptcy Procedure, and Bankruptcy Local Rule 3007-1, the Court may approve

the Trustee’s Application for compensation and approve the Final Report without notice or

a further hearing.

                                END OF DOCUMENT

Distribution List

ALL PARTIES ON THE COURT’s
MAILING MATRIX


                                            8
